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                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF VIRGINIA
                                 Newport News Division

UNITED STATES OF AMERICA,                    )       Criminal No. 4:17cr76
                                             )
        v.                                   )
                                             )
ELMER EMMANUEL EYCHANER, III,                )
                                             )
               Defendant.                    )

                                   BILL OF PARTICULARS

       The United States of America, through its attorneys, Tracy Doherty-McCormick, Acting

United States Attorney, and Megan M. Cowles, Assistant United States Attorney, respectfully

submits this Bill of Particulars, in response to the Court’s order. ECF 33.

       I.      Background

       On August 16, 2017, the defendant, ELMER EMMANUEL EYCHANER, was charged in

a five-count indictment by a federal grand jury sitting in Newport News, Virginia. The indictment

charges the defendant with Access with Intent to View Visual Depictions of Minors Engaging in

Sexually Explicit Conduct, in violation of 18 U.S.C. § 2252(a)(4)(B) (Count One); Attempted

Receipt of Obscene Visual Representations of the Sexual Abuse of Children, in violation of 18

U.S.C. § 1466A(a)(1) (Count Two); Destruction of a Tangible Object to Impede a Federal

Investigation, in violation of 18 U.S.C. § 1519 (Count Three); Obstruction of Justice- Attempted

Evidence Tampering, in violation of 18 U.S.C. § 1512(c)(1) (Count Four); and Penalties for

Registered Sex Offender, in violation of 18 U.S.C. § 2260A (Count Five).

       These charges stem from the defendant’s activity on a government monitored laptop

computer on November 17, 2016. The defendant was on federal supervised release for a federal

possession of child pornography conviction in the Eastern District of Virginia in 2008. A

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company, RemoteCOM, was monitoring his activity on the computer pursuant to an agreement.

On November 18, 2016, the defendant called Senior United States Probation Officer Candice Yost

to report his activity regarding child pornography. However, the defendant destroyed the hard

drive and told Probation Officer Yost that he threw the hard drive in a sewer on the way to work.

The United States never recovered the hard drive, and is instead relying upon eight PDF documents

containing screenshots of the defendant’s computer activity on November 17, 2016.              The

screenshots include the defendant’s search history on Bing.com, including search terms and files

and images that were generated pursuant to those search terms. The pages depicting obscene

material and child pornography contain multiple images per page.

       Probation Officer Mako downloaded the eight PDF documents to a disc, and gave the disc

to Senior Probation Officer Yost to review for the defendant’s supervised release violation in case

2:07cr183. This disc was subsequently provided to the United States Attorney’s Office, and has

been made available for review, along with paper copies of the PDF documents, by defense

counsel. To date, defense counsel has viewed these materials on five separate occasions, including

September 11, 2017, February 27, 2018, April 13, 2018, April 25, 2018, and April 30, 2018.

        The disc contains eight PDF documents labeled: Screenshots Detail-1, Screenshots Detail-

2, Screenshots Detail-3, Screenshots Detail-4, Screenshots Detail-5, Screenshots Detail-6,

Screenshots Detail-7, and Screenshots Detail-8.

       II.     Evidence

               Screenshots Detail-1

       Screenshots Detail-1 is a 101 page PDF document of screenshots taken of the defendant’s

laptop computer ranging in time from approximately 7:56:28 PM to 8:16:59 PM on November 17,

2016. This report contains screenshots showing searches for how to delete or uninstall Microsoft



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Edge and Cortona at approximately 7:57 PM, and a deletion of search history at approximately

8:03 PM. The United States does not allege that Screenshots Detail-1 contains websites visited in

violation of 18 U.S.C. § 2252(a)(4)(B), a visual depiction of a minor engaging in sexually explicit

conduct, as charged in Count One, or obscene visual representations of the sexual abuse of

children, as charged in Count Two.

               Screenshots Detail-2

       Screenshots Detail-2 is a 100 page PDF document of screenshots taken of the defendant’s

laptop computer ranging from approximately 6:39:25 PM to 7:59:13 PM on November 17, 2016.

       The United States alleges that the defendant visited and conducted searches on Bing.com

in violation of 18 U.S.C. § 2252(a)(4)(B). Bing.com is a web search engine owned and operated

by Microsoft that provides web, video and image search services.

       The United States alleges that the specific images containing a visual depiction of a minor

engaged in sexually explicit conduct, as charged in Count One, are on the following pages: page

32 of 100, in the second row of photos, depicting lascivious exhibition of the genitals of a group

of four nude minor females; page 39 of 100, in the second row of photos, depicting lascivious

exhibition of the genitals of a nude minor female; and page 44 of 100, which is the same photo

depicted on page 39. There are no file names associated with these images.

       The United States alleges that the specific images that constitute obscene visual

representations of the sexual abuse of children are contained on pages 31-33, 35-44, 46-58, and

60-100.

       Screenshots Detail-3

       Screenshots Detail-3 is a 100 page PDF document of screenshots taken of the defendant’s

laptop computer ranging from approximately 6:52:38 PM to 7:10:11 PM on November 17, 2016.



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The United States does not allege that Screenshots Detail-3 contains websites visited in violation

of 18 U.S.C. § 2252(a)(4)(B), or a visual depiction of a minor engaging in sexually explicit

conduct, as charged in Count One.

       The United States alleges that the images that constitute obscene visual representations of

the sexual abuse of children, as charged in Count Two, are contained on pages 1 through 100.

       Screenshots Detail-4

       Screenshots Detail-4 is a 100 page PDF document of screenshots taken of the defendant’s

laptop computer ranging from approximately 7:10:21 PM to 7:27:04 PM on November 17, 2016.

       The United States alleges that the defendant visited and conducted searches on Bing.com

in violation of 18 U.S.C. § 2252(a)(4)(B). Bing.com is a web search engine owned and operated

by Microsoft that provides web, video and image search services.

       The United States alleges that the specific image containing a visual depiction of a minor

engaged in sexually explicit conduct, as charged in Count One, is on pages 4 of 100 and 9 of 100.

This is the same image, and depicts lascivious exhibit of the genitals of a prepubescent female

minor and a nude penis directed toward the prepubescent female’s genitals. The image is in the

video section of Bing.com and does not have a file name. At the bottom left corner of the image is

the text “preview not available.”

       The United States alleges that the images that constitute obscene visual representations of

the sexual abuse of children, as charged in Count Two, are contained on pages 1 through 18, 20

through 23, 26 through 38, 40 through 73, 75 through 77, 80 through 100.

       Screenshots Detail-5

       Screenshots Detail-5 is a 100 page PDF document of screenshots taken of the defendant’s

laptop computer ranging from approximately 6:29:39 PM to 7:39:17 PM on November 17, 2016.



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       The United States alleges that the defendant visited and conducted searches on Bing.com

in violation of 18 U.S.C. § 2252(a)(4)(B). Bing.com is a web search engine owned and operated

by Microsoft that provides web, video and image search services.

       The United States alleges that the specific images containing a visual depiction of a minor

engaged in sexually explicit conduct, as charged in Count One, are on pages 71, 84, and 85. On

page 71, the United States alleges the following specific images contain a visual depiction of a

minor engaged in sexually explicit conduct: an image titled “Young Boy Nudist Only,” depicting

oral-genital sexual intercourse; an image titled “Young Taboo”; an image titled “Young

Submissive”; and the image in the bottom left corner with the webpage “CumaholicTeens.com”

in the top left corner depicting oral-genital sexual intercourse. The United States alleges that the

image which is in the middle row and second from the right depicts lascivious exhibition of a

female minor. This same image is contained on page 85.

       The United States alleges that the images that constitute obscene visual representations of

the sexual abuse of children, as charged in Count Two, are contained on pages 1 through 3, 5

through 6, 8 through 11, 13 through 68, and 87 through 100.

       Screenshots Detail-6

       Screenshots Detail-6 is a 100 page PDF document of screenshots taken of the defendant’s

laptop computer ranging from approximately 5:38:52 PM to 6:39:23 PM on November 17, 2016.

       The United States alleges that the defendant visited and conducted searches on Bing.com

in violation of 18 U.S.C. § 2252(a)(4)(B). Bing.com is a web search engine owned and operated

by Microsoft that provides web, video and image search services.

       The United States alleges that the specific images containing a visual depiction of a minor

engaged in sexually explicit conduct, as charged in Count One, are on pages 21 and 100. The



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image on page 21 is the same image contained on page 84 and 85 of the Screenshots Detail-5

report, and depicts the lascivious exhibit of the genitals of a minor female. The image on page 100

is the same image contained on page 32 of 100 of the Screenshots Detail-2 report, and depicts the

lascivious exhibition of the genitals of a group of four nude minor females.

       The United States alleges that the images that constitute obscene visual representations of

the sexual abuse of children, as charged in Count Two, are contained on pages 1, 12, and 18.

       Screenshots Detail-7

       Screenshots Detail-7 is a 100 page PDF document of screenshots taken of the defendant’s

laptop computer ranging from approximately 5:57:47 PM to 6:18:35 PM on November 17, 2016.

       The United States does not allege that Screenshots Detail-7 contains websites visited in

violation of 18 U.S.C. § 2252(a)(4)(B), or a visual depiction of a minor engaging in sexually

explicit conduct, as charged in Count One, or images that constitute obscene visual representations

of the sexual abuse of children, as charged in Count Two.

       Screenshots Detail-8

       Screenshots Detail-8 is a 66 page PDF document of screenshots taken of the defendant’s

laptop computer ranging from approximately 10:38:35 PM though 10:51:42 PM on November

16, 2016, and 4:40:15 AM, 4:40:23 AM through 5:50:52 AM and 6:18:45 PM through 6:28:20

PM on November 17, 2016.

       The United States alleges that the defendant visited and conducted searches on Bing.com

in violation of 18 U.S.C. § 2252(a)(4)(B). Bing.com is a web search engine owned and operated

by Microsoft that provides web, video and image search services.

       The United States alleges that the same specific image containing a visual depiction of a

minor engaged in sexually explicit conduct, as charged in Count One, is on pages 20, 21, and 22.



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The image on these pages is the same image contained on page 32 of 100 of the Screenshots Detail-

2 report and 100 of the Screenshots Detail-6 report, and depicts the lascivious exhibition of the

genitals of a group of four nude minor females.

       The United States does not allege that Screenshots Detail-8 report contains images that

constitute obscene visual representations of the sexual abuse of children, as charged in Count Two.



                                    Respectfully submitted,

                                    Tracy Doherty-McCormick
                                    Acting United States Attorney




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                                CERTIFICATE OF SERVICE

       I hereby certify that on the 4th day of May, 2018, I electronically filed the foregoing

document for which conventional service is required with the Clerk of Court using the CM/ECF

System, which will send notice of such filing to the following registered CM/ECF users:

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